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            EXHIBIT 1
                  Case 4:20-cv-03664-YGR Document 726 Filed 08/30/22 Page 2 of 8




From:                Alex Frawley <AFrawley@susmangodfrey.com>
Sent:                Monday, August 15, 2022 4:54 PM
To:                  Stephen Broome; James Lee
Cc:                  Aly Olson
Subject:             RE: Brown - to Google Stip.DOCX
Attachments:         Brown - to Google Stip 8 pm.docx


                                   [EXTERNAL EMAIL from afrawley@susmangodfrey.com]


Ok, how’s this?

Alexander P. Frawley
917.599.6613 (cell)

From: Stephen Broome <stephenbroome@quinnemanuel.com>
Sent: Monday, August 15, 2022 6:44 PM
To: Alex Frawley <AFrawley@susmangodfrey.com>; James Lee <jwlee@bsfllp.com>
Cc: Aly Olson <alyolson@quinnemanuel.com>
Subject: Brown ‐ to Google Stip.DOCX

EXTERNAL Email
Further revised per our call just now.




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                          Case 4:20-cv-03664-YGR Document 726 Filed 08/30/22 Page 3 of 8




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                                                                       Counsel for Defendant; additional counsel
                15       Counsel for Plaintiffs; additional counsel    listed in signature blocks below
                         listed in signature blocks below
                16

                17
                                              UNITED STATES DISTRICT COURT
                18                  NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
                19
                                                                       Case No. 4:20-cv-03664-YGR-SVK
                20       CHASOM BROWN, MONIQUE
                         TRUJILLO, WILLIAM BYATT, JEREMY               JOINT STIPULATION AND [PROPOSED]
                21
                                                                       ORDER REGARDING BRIEFING
                         DAVIS, and CHRISTOPHER CASTILLO,
                22                                                     SCHEDULE AND HEARING DATE FOR
                         individually and on behalf of all similarly   PLAINTIFFS’ CLASS CERTIFICATION
                23       situated,                                     MOTION (DKT. 609) AND GOOGLE’S
                                Plaintiffs,                            DAUBERT MOTIONS (DKTS. 662, 663,
                24                                                     664)
                25                     v.
                                                                       The Honorable Yvonne Gonzalez Rogers
                26       GOOGLE LLC,

                27              Defendant.

                28
                                                                                    Case No. 4:20-cv-03664-YGR-SVK
                              JOINT STIPULATION AND [PROPOSED] ORDER REGARDING BRIEFING SCHEDULE AND HEARING
                                  DATE FOR PLAINTIFFS’ CLASS CERTIFICATION MOTION AND PARTIES’ DAUBERT MOTIONS
01980-00174/13555697.1                                                                                            )
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                  1          Pursuant to Civil Local Rule 6-2 and 7-12, this joint stipulation is entered into between

                  2 Plaintiffs and Google LLC (“Google”), collectively referred to as the “Parties.”

                  3          WHEREAS, on June 21, 2022, Plaintiffs filed their Motion for Class Certification (Dkt.

                  4 609);

                  5          WHEREAS, on August 5, 2022, Google filed its Opposition to Plaintiffs’ Motion for Class

                  6 Certification (Dkt. 665), as well as three Daubert motions (Dkts. 662, 663, 664);

                  7          WHEREAS, Plaintiffs’ oppositions to Google’s Daubert motions are currently due on

                  8 August 19, 2022;

                  9          WHEREAS, any replies in support of Google’s Daubert motions are currently due on

                10 August 26, 2022;

                11           WHEREAS, Plaintiffs’ Reply in support of their Motion for Class Certification is currently

                12 due on August 26, 2022;

                13           WHEREAS, the hearing on Plaintiffs’ motion for class certification as well as Google’s

                14 Daubert motions is currently scheduled for September 20, 2022 at 2:00 p.m. (Dkt. 669);

                15           WHEREAS, Google has requested an extension of its deadline for any replies in support of

                16 its Daubert motions, from August 26 to September 1;

                17           WHEREAS, Plaintiffs wish to ensure that any changes to the briefing schedules do not result

                18 in any change to the September 20 hearing date;

                19           WHEREAS, consistent with the current briefing schedules, Plaintiffs wish to maintain a

                20 schedule whereby Google files any replies in support of its Daubert motions on the same day that

                21 Plaintiffs file their Reply in support of their Motion for Class Certification (currently August 26);

                22           WHEREAS, Google has agreed to reciprocally extend the deadline for Plaintiffs’ Reply in

                23 support of their Motion for Class Certification from August 26 to September 1;

                24           WHEREAS, Google has represented that it will not seek to reschedule the September 20

                25 hearing date based on these stipulated changes to these briefing schedules;

                26           WHEREAS, Plaintiffs have advised Google of their intention to file one Daubert motion on
                27 August 19, following Plaintiffs’ depositions of Google’s experts that are occurring during the week

                28 of August 15;

                                                                  -1-             Case No. 4:20-cv-03664-YGR-SVK
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                  1            WHEREAS, in the interest of allowing this motion to be heard on September 20 during the

                  2 currently scheduled hearing on Plaintiffs’ class certification motion and Google’s Daubert motions,

                  3 the Parties have agreed to the following briefing schedule for Plaintiffs’ Daubert Motion: Google’s

                  4 Opposition shall be due on September 9, and Plaintiffs’ Reply shall be due on September 13;

                  5            NOW THEREFORE, the Parties stipulate to the following deadlines:

                  6               •   The deadline for Google to file any replies in support of its Daubert motions (Dkts.
                  7                   662-64) is extended from August 26, 2022 to September 1, 2022.

                  8               •   The deadline for Plaintiffs to file their Reply in support of their Motion for Class
                  9                   Certification (Dkt. 609) is extended from August 26, 2022 to September 1, 2022.

                10                •   Plaintiffs shall file their Daubert Motion on August 19. Google’s Opposition is due
                11                    on September 9, and any reply is due on September 13. The hearing date for this

                12                    motion shall be September 20, 2022.

                13                    .

                14

                15
                         DATED: August 30, 2022
                16
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                17       SULLIVAN, LLP
                18              /s/ TK Draft                                     /s/ TK Draft
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                                                                   -2-              Case No. 4:20-cv-03664-YGR-SVK
                              JOINT STIPULATION AND [PROPOSED] ORDER REGARDING BRIEFING SCHEDULE AND HEARING
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                          Case 4:20-cv-03664-YGR Document 726 Filed 08/30/22 Page 6 of 8




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                19
                                                                       Attorneys for Plaintiffs
                         Attorneys for Defendant Google LLC
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                                                                  -3-              Case No. 4:20-cv-03664-YGR-SVK
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                  1                               ATTESTATION OF CONCURRENCE

                  2            I am the ECF user whose ID and password are being used to file this JOINT STIPULATION
                  3 AND [PROPOSED] ORDER. I hereby attest that each of the signatories identified above has

                  4 concurred in the filing of this document

                  5
                         Dated: August 30, 2022                  By         /s/ TK Draft
                  6                                                   TK Draft
                  7                                                   Counsel on behalf of Plaintiffs

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                                                                   -4-              Case No. 4:20-cv-03664-YGR-SVK
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                  1                                         [PROPOSED] ORDER

                  2          Pursuant to stipulation of the Parties, the Court hereby ORDERS:

                  3               •   The deadline for Google to file any replies in support of its Daubert motions (Dkts.
                  4                   662-64) is extended from August 26, 2022 to September 1, 2022.

                  5               •   The deadline for Plaintiffs to file their Reply in support of their Motion for Class
                  6                   Certification (Dkt. 609) is extended from August 26, 2022 to September 1, 2022.

                  7               •   Plaintiffs shall file their Daubert Motion on August 19. Google’s Opposition is due
                  8                   on September 9, and any reply is due on September 13. The hearing date for this

                  9                   motion shall be September 20, 2022.

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                14           PURSUANT TO STIPULATION, IT IS SO ORDERED.

                15

                16       DATED:
                                                                         HON. YVONNE GONZALEZ ROGERS
                17                                                       United States District Judge
                18

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                                                                 -5-              Case No. 4:20-cv-03664-YGR-SVK
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